Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 1 of 14 PageID #:24345




                   EXHIBIT 1
Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 2 of 14 PageID #:24346




                                            March 13, 2024

Via Email

Jennifer Bagby                                           Allan Slagel
Deputy Corporation Counsel                               Counsel for the City of Chicago
City of Chicago Department of Law                        Taft Stettinius & Hollister LLP
121 North LaSalle St., Room 600                          111 East Wacker, Suite 2800
Chicago, IL 60602                                        Chicago, IL 60601
jennifer.bagby@cityofchicago.org                         aslagel@taftlaw.com

Maggie Hickey                                            Christopher G. Wells
Independent Monitor                                      Chief, Public Interest Division
ArentFox Schiff                                          Office of the Illinois Attorney General
233 South Wacker Drive, Suite 7100                       100 W. Randolph Street, 12th Floor
Chicago, IL 60606                                        Chicago, IL 60601
maggie.hickey@afslaw.com                                 Christopher.Wells@ilag.gov

Dear Counsel and Monitor Hickey:

        We write on behalf of the Coalition to raise serious deficiencies in the Chicago Police
Department’s (“CPD”) draft Coordinated Multiple Arrest Policy Suite (Special Orders S06-06X-
S06-06-03XX) (the “mass arrest policy” or the “policy”), and to provide notice of the Coalition’s
intent to initiate emergency enforcement proceedings pursuant to Consent Decree Paragraphs 695
and 709(a).

        The mass arrest policy, released to the public on February 9, 2024, governs CPD’s
“response to crowds, protests, and civil disturbances.” S06-06X, Sec. I. It lays out a vast array of
exceptions to the CPD policy requirements that apply during “regular Department operations.”
S06-06-03XX, Sec. VII.A. The policy authorizes CPD to declare that any crowd, protest, or civil
disturbance constitutes a “Coordinated Multiple Arrest Incident” (a “CMA Incident”), 1 which then



1
  A “CMA Incident” is defined as “an incident where multiple arrests are anticipated or occurring, a
continued police presence is required on the scene of the incident to ensure public safety, and individual
arresting officers cannot effectively be removed immediately from the incident scene for arrestee
processing.” S06-06-01XX, Sec. II.A. The designated “incident commander” has the authority to declare a
CMA Incident. The policy states that the incident commander must be “exempt-level,” i.e., above the rank
of captain, but does not otherwise specify any minimum required rank. S06-06-01XX, Sec. III.A. Moreover,
if no exempt-level incident commander has been designated, a CMA Incident may be declared by whoever
is the “highest-ranking on-scene supervisory member.” Id. Sec. III.A.1.

                                                    1
Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 3 of 14 PageID #:24347




suspends CPD’s regular policies and procedures, including policies regarding arrests and reporting
use of force, for the duration of the CMA Incident.

        The scope of this policy is extraordinarily broad. While we understand it is intended, in the
near term, to address CPD’s response to gatherings during the August 2024 Democratic National
Convention (“DNC”) in Chicago, the policy applies, by its own terms, to any “crowds, protests,
and civil disturbances.” And the policy’s impact is immediate. CPD is training officers on the
policy this month (March 2024) in preparation for the DNC.

        The mass arrest policy violates numerous provisions of the Consent Decree and does not
adequately protect First Amendment rights. As explained below, the policy violates the Consent
Decree’s mandates for use of force reporting and investigations (¶¶ 217-19, 228-35, 571(h), 574-
75). See Part II. It fails to protect protesters’ First Amendment rights and fails to comply with
related Consent Decree provisions on impartial policing (¶¶ 50-51) and use of force (¶¶ 156, 163).
See Parts III-IV. It fails to comply with statutory and Consent Decree requirements for providing
disability and language accommodations (¶¶ 64, 68-69). See Part V. And CPD violated the Consent
Decree’s community engagement requirements applicable to this policy (¶ 633). See Part VI.

       For these reasons, unless CPD takes immediate action to correct the policy deficiencies
described below, the Coalition will file an emergency enforcement motion with the Court.

I.     CPD’s Abuse of Protesters in Summer 2020, Subsequent Coalition Enforcement
       Letter, and the Resulting First Amendment Policy.

        In May 2020, a little over one year after the Consent Decree went into effect, the world
watched as George Floyd, a Black man, was killed by a Minneapolis police officer kneeling on his
neck. The streets of Chicago erupted into protest against police violence and racism. Coalition
members participated, leading many of the 2020 protests. CPD responded to Coalition members
and other protesters with brutal force, systematically violating at least twelve provisions of the
Consent Decree. Among other violations, CPD officers used unjustified lethal force against
protesters in the form of headstrikes and retaliated against people recording officers’ actions,
including journalists and other bystanders.

       On July 23, 2020, the Coalition notified the City and CPD of the Coalition’s intent to file
an enforcement action if they failed to take immediate steps to ensure compliance with the Consent
Decree and protect protesters’ First Amendment rights and safety. Dkt. 855; Dkt. 855-1
(“Enforcement Letter”). They did not immediately engage with the Coalition and, instead, on
August 27, 2020, CPD issued a Special Order that allowed police officers to further escape
accountability for protest-related abuses by eliminating certain reporting requirements for uses of
force during protests and seemingly permitting the use of lethal force against protesters. Response
to Crowds and Civil Disturbances, Special Order S03-022.

        The facts animating the Coalition’s Enforcement Letter were substantiated by a series of
investigative reports on CPD’s 2020 protest response from the Independent Monitoring Team
(“IMT”), the City’s Office of Inspector General, and even CPD itself.

       In July 2021, the IMT issued a 464-page report (Dkt. 964) addressing CPD’s failed
response to the 2020 protests. Id. at 1. The report provided first-hand accounts of protesters who
                                                 2
Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 4 of 14 PageID #:24348




described how CPD officers physically and verbally abused them. Officers hit protesters with
batons, fists, and other objects, pushed and shoved them, tackled them to the ground, caused head
injuries, and sprayed them indiscriminately with pepper spray. Id. at 12-13. The IMT found that
officers engaged in inherently escalatory behavior and “various levels of misconduct and excessive
force.” Id. at 15, 129-30.

        The Office of Inspector General (“OIG”) released a similarly damning report on CPD’s
response to the summer 2020 protests.2 OIG found that CPD made more than 1,500 protest-related
arrests between May 29 and June 7, 2020. Id. at 8-9. “[P]rotesters reported seeing and experiencing
apparently indiscriminate uses of force by CPD members. They described seeing CPD members
tackle, punch and use batons to strike peaceful protesters in the head and neck.” Id. at 37. OIG
found that CPD failed to “fulfill its force reporting obligations” and failed to “provide clear and
consistent guidance to officers on reporting obligations.” Id. at 9. As a result, OIG concluded,
“CPD underreported uses of baton strikes and manual strikes, further resulting in an inadequate
record of severe and potentially out-of-policy uses of force.” Id. In addition, CPD exempted uses
of force from being reviewed by the Force Review Division (now known as the Tactical Review
and Evaluation Division (“TRED”)) and other accountability mechanisms. Id. at 110.

         After the Coalition filed its Enforcement Letter, the City/CPD, the Coalition, and the
Illinois Attorney General’s Office engaged in structured settlement negotiations, supervised by the
Court and the IMT. These negotiations resulted in a new CPD First Amendment policy (Gen. Order
G02-02). The negotiated policy contains provisions explicitly crafted to prevent another 2020.
Among other things, the First Amendment policy prohibits officers from making arrests when a
protester poses no threat to the safety of the community or danger to property, and requires officers
to ensure that people have an opportunity to comply with commands prior to taking enforcement
action.

        As explained in detail below, CPD’s proposed mass arrest policy would undo many of the
key negotiated remedies that the Coalition obtained and that this Court approved. The mass arrest
policy does far too little to prevent a repeat of violent and systemic First and Fourth Amendment
violations and Consent Decree violations during CPD’s response to protests around the 2024 DNC
and beyond.

II.    The Mass Arrest Policy Violates the Consent Decree’s Mandates for Reporting Use of
       Force.

       The policy relaxes the procedures for reporting officer use of force whenever a CMA
Incident is declared, instituting “alternate tactical response reporting procedures” that apply
throughout the incident. S06-06-03XX, Sec. IV.A. These alternate procedures “take precedence”
over “any other Department directive” to the extent there is “any perceived conflict.” Id. Sec. IV.B.

       The alternate procedures violate the Consent Decree in at least two ways. First, the policy
allows CPD to use a watered-down mass arrest form instead of the Decree-mandated Tactical
Response Report (“TRR”) to document certain uses of force against community members. Second,
2
 City of Chicago, Office of Inspector General, Report on Chicago’s Response to George Floyd Protests
and Unrest (Feb. 18, 2021), https://igchicago.org/wp-content/uploads/2023/08/OIG-Report-on-Chicagos-
Response-to-George-Floyd-Protests-and-Unrest.pdf.

                                                 3
Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 5 of 14 PageID #:24349




the policy extends the time period an officer has to complete a TRR beyond the Decree-mandated
deadline (the end of an officer’s tour of duty) without even setting an outer limit on the extension.
Given CPD’s widespread, brutal use of excessive force during the summer 2020 protests—and
officers’ widespread failure to report uses of force during those protests—CPD should be
strengthening its procedures for documenting, investigating, and publicly disclosing officer
violence against protesters. This policy does the opposite.

       A.      The Mass Arrest Policy Violates Consent Decree Requirements for
               Documenting and Investigating All Reportable Uses of Force.

        Under Consent Decree Paragraph 219, CPD officers “must complete a TRR” or “similar
form of documentation” “[w]henever a CPD member engages in a reportable use of force.”
(Emphasis added). The Consent Decree defines “reportable use of force” broadly to include “any
force by a CPD member to overcome the active resistance of a subject.” ¶ 218(a). This includes
any “force that is reasonably expected to cause pain or an injury, but does not result in injury or
complaint of injury,” such as “pressure point compliance techniques; joint manipulation
techniques; wristlocks; armbars; and any leg sweep, weaponless defense techniques, or takedown
that does not result in injury or complaint of injury.” Id.

         In contrast, the mass arrest policy states that during a CMA Incident, officers need to
complete a TRR for only the following limited types of use of force: “deadly force,” “weapon
discharge,” “impact weapon strikes,” “canines as a force option,” “Long Range Acoustic Device
(LRAD) acoustic transmission to cause discomfort as a compliance technique,” and “force that
results in a non-fatal major injury,” where “major injury” is defined as a “visible injury requiring
immediate medical attention.” S06-06-03XX, Sec. V.C. (emphasis added). This means that uses of
force that are “reasonably expected to cause pain or an injury” but do not result in a “major
injury”—for example, an officer who hits or kicks an individual but causes no “major injury” or
at least not any that is immediately observable—will not be reported in a TRR. Under the Consent
Decree, there is no circumstance in which policies or procedures about reporting officers’ use of
force may be contingent on whether the officer reports a resulting injury.

        In lieu of a TRR, the mass arrest policy allows officers to submit a much less extensive
form, known as a Coordinated Multiple Arrest Report, CPD-11.433 (Rev. 1/24) (a “CMA Report”).
See S06-06-03XX, Sec. V.B.-C. The CMA Report is not an adequate substitute for a TRR. For at
least three reasons, it does not qualify as a “similar form of documentation [to a TRR],” as needed
to pass muster under Consent Decree Paragraph 219.

        First, the CMA Report form, which is less than half the length of a TRR form, requires
officers to provide far less information than is required in a TRR. One of the missing fields—“the
subject’s mental health or medical condition, use of drugs or alcohol, ability to understand verbal
commands, or disability, as perceived by the CPD member(s) at the time force was used”—is
specifically required by the Consent Decree (¶ 571(h)). In addition, the truncated “narrative
summary” section of the CMA Report form conveys to officers that detailed facts are not needed.
Unlike the TRR form, which asks officers to “describe with specificity (1) the use of force incident,
(2) the subject’s actions or other circumstances necessitating the force used, and (3) the involved
member’s response, including force mitigation efforts and specific types and amount of force
used,” the CMA Report form merely instructs officers to provide: a “concise summary of [the]

                                                 4
Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 6 of 14 PageID #:24350




person’s actions and member’s response.” The information that will inevitably not be captured on
the CMA Report form will impair CPD’s, the Civilian Office of Police Accountability’s (“COPA”),
and the public’s ability to identify and hold officers accountable for improper uses of force, and to
track and address use of force patterns.

       Second, unlike a TRR, a CMA Report is not subject to the two forms of oversight that the
Consent Decree mandates for reportable uses of force: district-level supervisory investigation
(¶¶ 228-35) and independent review by the Tactical Review and Evaluation Division (“TRED”)
(¶¶ 574-75). These mandatory layers of review ensure that officers’ use of force is thoroughly
evaluated to identify possible violations of law or policy, that any such violations are referred to
COPA, and that officers receive any necessary corrective action such as retraining.

        While the mass arrest policy states that a copy of each CMA Report will be forwarded to
TRED, S06-06-02-XX, Sec. VI.D.4., the policy makes clear that TRED’s review of CMA Reports
does not comply with the Consent Decree’s requirements for assessing uses of force. The Consent
Decree requires TRED to conduct an in-depth evaluation of the individual officer’s use of force,
assessing each particular use of force incident. ¶ 574. In contrast, the mass arrest policy states that
TRED will conduct only a high-level review of the CMA Incident as a whole i.e., assessing CPD’s
response to an entire protest. S06-06-03XX, Sec. VIII.B.1.

        Third, unlike a TRR, it is not clear whether a CMA Report will be included in the use of
force data that CPD is obligated to publicly report. Consent Decree Paragraph 581 requires CPD
to regularly publish on its website aggregated and incident-level data about all reportable uses of
force.3 However, CPD’s online “Use of Force Dashboard” currently reports only TRRs, leaving
uncertain whether reportable uses of force that are documented only in a CMA Report (and not in
a TRR) will be included in CPD’s online dashboard. The Coalition understands based on a
conversation with the Monitoring Team that CPD intends to include data from CMA Reports on
its Use of Force Dashboard, but this is reflected nowhere in CPD’s policies.

       B.      The Mass Arrest Policy Delays Use of Force Reporting, in Violation of the
               Consent Decree.

        The Consent Decree mandates prompt completion of a TRR after any officer commits a
reportable use of force. Specifically, “[w]henever a CPD member engages in a reportable use of
force, the member must complete a TRR, or any similar form of documentation CPD may
implement, prior to the end of his or her tour of duty.” ¶ 219 (emphases added). The Consent
Decree provides only one narrow exception to this timing requirement, allowing a reasonable
extension if an officer “requir[es] medical attention.” Id. The Consent Decree makes no exceptions
for “mass arrests,” protests, large demonstrations, or the like.

        In violation of the Decree’s mandate that TRRs be completed before the end of an officer’s
tour of duty, the policy authorizes an incident commander to “institute delayed Tactical Response
Reporting procedures,” which enables officers to “complete any TRR after the members’ tour of
duty.” S06-06-03XX, Sec. VII.C., Sec. VII.H.2. (emphasis added). The policy provides no clear

3
 Chicago Police Department, Use of Force Dashboard, https://home.chicagopolice.org/statistics-
data/data-dashboards/use-of-force-dashboard/.

                                                  5
Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 7 of 14 PageID #:24351




standard dictating what specific circumstances would warrant instituting “delayed Tactical
Response Reporting procedures.” See Sec. VII.C. (listing eight open-ended “factors for
consideration”). In addition, the policy places no constraints on the delayed (post-tour of duty)
timeline for submitting a TRR. The policy leaves the designation of the new, delayed timeline up
to the sole discretion of each incident commander. If an incident commander wanted to give
officers six months to submit TRRs, nothing in this policy would prohibit it, even though the
Consent Decree clearly does.

        The policy’s delayed use of force reporting introduces serious risks that officers will submit
TRRs days, weeks, or even months after engaging in physical violence against community
members—after recollections have faded and evidence is no longer available, and after officers
have had time to collude and coordinate on their version of events surrounding the use of force.
The unlimited timeline for delayed reporting also increases the risk that officers will never submit
a TRR, and that instances of nonreporting will be difficult or impossible to identify. In sum, the
policy’s delayed TRR procedures violate Paragraph 219 of the Consent Decree and undermine the
Decree’s accountability mechanisms for officer violence in the very context—police response to
protesters—in which CPD has demonstrated a heightened need for ensuring accountability.

III.    The Policy Fails to Adequately Protect First Amendment Rights.

        A.      The Policy Fails to Make Clear that Protests Trigger First Amendment
                Protection.

         The policy states that it controls CPD’s “response to crowds, protests, and civil
disturbances,” but fails to make clear that “protests” (as well as demonstrations, parades, and other
expressive gatherings) trigger First Amendment protections not applicable to “crowds” and “civil
disturbances.” S06-06X, Sec. I. The policy provides no definitions of the terms “crowds,”
“protests,” or “civil disturbances,” nor does it tell officers how to distinguish between these three
different types of activity. Instead, the policy treats the three as a single category. By lumping
“protests” together with “crowds” and “civil disturbances,” the policy fails to make clear to officers
that community members who participate in protests are protected by the First Amendment, and
thus require different police responses than “crowds” and “civil disturbances,” which may not be
entitled to First Amendment protection. The policy further increases the likelihood that officers
will violate protesters’ First Amendment rights by suggesting that only some protests qualify as
protected “First Amendment assemblies,” without explaining this distinction. See S06-06X, Sec.
III.E.2., Sec. III.I.

       Additionally, the policy makes no distinction between protests occurring on public
sidewalks, streets, or parks (considered a “traditional public forum” under the First Amendment)
and those in which protesters are located on private property. 4 This omission is deeply concerning,
as the former is protected by the First Amendment whereas the latter generally is not. See
Manhattan Cmty. Access Corp. v. Halleck, 139 S. Ct. 1921, 1930 (2019). This omission is
especially concerning given that this policy is intended to govern CPD’s response to the DNC,
where there are likely to be some protests on public sidewalks, streets, and parks and other protests

4
  The policy includes a definition of “public way” in the Definitions section, S06-06X Sec. II.G., but the
term appears nowhere in the operative provisions of the policy.

                                                     6
Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 8 of 14 PageID #:24352




that may be taking place on private property, such as in the United Center where the convention is
being held.

       B.      The Policy Fails to Limit Mass Arrests of Protesters to the Narrow
               Circumstances Permitted under the First Amendment.

       The policy fails to provide constitutionally adequate direction to incident commanders on
when and under what circumstances they may declare a CMA Incident. Even though the entire
purpose of declaring a CMA Incident is to facilitate large-scale arrests of protesters for failure to
comply with a crowd dispersal order, the First Amendment standards that govern such arrests are
mentioned nowhere in the policy.

         Under the First Amendment, arrests of protesters on public property for failure to obey a
dispersal order is permitted only if “immediate danger to speakers and protesters exists . . . [and]
dispersal [i]s a necessary means of averting danger and damage.” Bell v. Keating, 697 F.3d 445,
457-58 (7th Cir. 2012) (upholding in part and invalidating in part the City of Chicago’s disorderly
conduct ordinance, Mun. Code Sec. 8-4-010(d)). But the policy fails to instruct officers that mass
arrests are only appropriate in those limited circumstances. The policy instead lists a number of
vague “factors” that the incident commander must consider when declaring a CMA Incident,
including: “the availability of Department resources,” whether “continued police presence is
necessary” to ensure public safety,” “the total number of arrestees,” “the probable charges,” and
the “capacity of the detention facilities.” S06-06-01XX, Sec. II.A.1.-8. These factors make no
reference to the First Amendment standard that dictates whether protesters may be arrested in the
first place.

        The policy should be revised to make clear that mass arrests of protesters should be used
only as a last resort—when “necessary” to “avert[] danger and damage.” Bell, 697 F.3d at 457-58.
In addition, the policy should be revised to make clear that mass arrests of protesters should not
be conducted unless all other reasonably available options for restoring public safety have been
exhausted. For example, CPD’s First Amendment Policy (discussed further below) requires the
field commander, before issuing a crowd dispersal order, to “consider if there are and attempt any
available less intrusive options to stop the unlawful behavior necessitating the issuance of the
crowd dispersal order.” G02-02, Sec. IX.D. Similar language must be added to the mass arrest
policy to instruct officers that mass arrests are not permitted unless other available, less intrusive
options have failed.

IV.    The Mass Arrest Policy Conflicts with Provisions of CPD’s First Amendment Policy
       that are Essential for Ensuring CPD’s Compliance with the Consent Decree and
       Constitution.

        CPD’s First Amendment Rights policy contains a number of important restrictions on
officers’ treatment of protesters, which safeguard protesters’ First Amendment rights consistent
with Bell. The First Amendment policy, as described above (Part I), was the result of intensive
negotiation between CPD, OAG, and the Coalition—supervised by this Court—to remedy CPD’s
abusive and unlawful treatment of protesters during the racial justice protests of summer 2020.
These negotiations were specifically intended to create policy provisions that would prevent CPD’s


                                                  7
Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 9 of 14 PageID #:24353




widespread violation of numerous Consent Decree requirements documented in the Coalition’s
July 2020 Enforcement Letter. The relevant Consent Decree provisions include:

       Paragraph 50: Requiring CPD to “provide police services to all members of the public
        without bias and [to] treat all persons with the courtesy and dignity which is inherently due
        every person as a human being”;
       Paragraph 163: Prohibiting CPD officers from “using force as punishment or retaliation,
        such as using force to punish or retaliate against a person for . . . engaging in protected
        First Amendment activity (e.g., lawful demonstrations, protected speech, observing or
        filming police activity, or criticizing an officer or the officer’s conduct)”; and
       Paragraph 213: Prohibiting CPD officers from using impact weapons such as batons “to
        intentionally strike a subject in the head or neck, except when deadly force is justified.”

        The First Amendment policy is crucial to ensuring that officers comply with the above
Decree requirements, respect protesters’ First Amendment rights, and do not repeat the brutal,
violent, and unconstitutional tactics that were clearly intended to silence protesters during the
summer of 2020 (see Dkt. 855-1). Yet the mass arrest policy, as explained below, appears to
override, or at least significantly weaken, key provisions of the First Amendment policy whenever
a CMA Incident is declared.

        A.     The Mass Arrest Policy Contradicts the First Amendment Policy’s Restrictions
               on Arresting Protesters.

        The First Amendment policy places tight restrictions on officers’ ability to arrest protesters.
Specifically, officers are prohibited from arresting any person “engaged in First Amendment
conduct” unless that person poses an “immediate threat to the safety of the community, or others,
or of causing property damage.” G02-02, Sec. IV.B.6. This restriction continues to apply even after
a protester has disobeyed a “crowd dispersal order.” Id. Sec. IX.E.2. In addition, a person engaged
in First Amendment conduct cannot be arrested for “minor or petty offenses, including traffic or
business offenses.” Id. Sec. IV.B.6.

        These restrictions were specifically negotiated and approved by the Court to safeguard
protesters’ First Amendment rights and to ensure CPD’s compliance with Consent Decree
requirements. See ¶ 50 (requiring CPD to “provide police services to all members of the public
without bias”); ¶ 51 (requiring CPD to “provide police services in a manner that promotes
community trust of its policing efforts and ensures equal protection of the law to all individuals”).
Moreover, the restrictions on arrest were aimed at preventing CPD officers from unconstitutionally
targeting protesters with retaliatory arrests, as they did in large numbers during the 2020 racial
justice protests.5

       The mass arrest policy appears to do away with these critical protections by suspending the
First Amendment policy’s restrictions on arrest during any CMA Incident—precisely when

5
  David Eads, Josh McGhee, Matt Chapman, Chicago Police Arrested More People for Protesting Than
for Looting in Early Days of Unrest, Contradicting Original Claims, The Chicago Reporter (June 16,
2020), https://www.chicagoreporter.com/chicago-police-arrested-more-people-for-protesting-than-for-
looting-in-early-days-of-unrest-contradicting-original-claims/.

                                                  8
Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 10 of 14 PageID #:24354




protections for protesters are most needed. The mass arrest policy expressly states that it
supersedes any other CPD policy to the contrary, which would include the First Amendment policy.
Specifically, the policy within the CMA suite that sets forth “alternate arrest procedures during
coordinated multiple arrest incidents” states that “[i]f there is any perceived conflict between a
procedure in this directive and any other Department directive, including the Department directive
titled ‘Processing Persons Under Department Control,’ this directive will take precedence.” S06-
06-02XX, Sec. III.B. (emphasis added). That same policy then expressly authorizes field
commanders to initiate “large scale enforcement action[s], including physical arrests beyond the
individual isolated incidents or individual offenses occurring.” Id. Sec. IV.A. The policy
contemplates each officer arresting as many as fifteen people in a single CMA Incident, id. Sec.
IV.C.3.NOTE, and authorizes officers to use their batons to “‘rake’ persons toward arrest teams.”
S06-06-03XX, Sec. III.B.NOTE. Such “large scale” arrests “beyond . . . individual offenses” are
precisely what the First Amendment policy aims to prohibit by requiring officers to make an
individualized determination that a would-be arrestee poses an “immediate threat to the safety of
the community, or others, or of causing property damage.” G02-02, Sec. IV.B.6.

          Officers and supervisors are particularly likely to believe that the mass arrest policy
conflicts with and supersedes the First Amendment policy’s arrest restrictions because the mass
arrest policy provides extensive procedures regarding arrest but omits any mention of the First
Amendment policy’s restrictions. Indeed, this omission appears to be intentional, as there are other
provisions of the First Amendment policy that the mass arrest policy does incorporate. E.g., S06-
06X, Sec. III.I.; Sec. V.B.3. (requirements for crowd dispersal orders); Sec. III.K.2. (prohibition
on retaliatory use of force). While the mass arrest policy states that “[a]ny response by Department
members to a First Amendment Assembly, including crowd management and crowd dispersal
orders, will be consistent with [the First Amendment policy],” S06-06X, Sec. III.I., it also expressly
overrides “any other” conflicting policies and specifically calls for “large scale” arrests “beyond
. . . individual offenses.” S06-06-03XX, Sec. IV.B.; S06-06-02XX, Sec. IV.A.

         The mass arrest policy must be revised to make clear that the First Amendment policy’s
restrictions on arrest govern all police encounters with anyone engaged in First Amendment
activity, including in a CMA Incident. The First Amendment policy’s specific restrictions on arrest
should also be incorporated into the mass arrest policy. Additionally, the CMA Report form, which
is used to document any arrest during a CMA Incident, should be modified to require the arresting
officer to record not only the probable cause for arrest but also the “immediate threat to the safety
of the community, or others, or of causing property damage” that justifies the arrest pursuant to
the First Amendment policy (G02-02, Sec. IV.B.6.).

       B.      The Mass Arrest Policy Fails to Protect Protesters from Unconstitutional or
               Otherwise Prohibited Uses of Force.

                   1.      The Mass Arrest Policy Fails to Adequately Prohibit Retaliatory
                           Uses of Force Against Protesters.

         Consent Decree Paragraph 163, as noted above, prohibits CPD officers from “using force
to punish or retaliate against a person for . . . engaging in protected First Amendment activity,”
including “lawful demonstrations, protected speech, observing or filming police activity, or
criticizing an officer or the officer’s conduct).” This Consent Decree provision reflects the basic

                                                  9
Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 11 of 14 PageID #:24355




First Amendment prohibition against government officials “subjecting an individual to retaliatory
actions for engaging in protected speech.” Nieves v. Bartlett, 139 S. Ct. 1715, 1722 (2019)
(quotations omitted).

        During the summer 2020 protests, CPD officers committed numerous egregious acts of
unjustified, retaliatory force against protesters and individuals recording the police, in violation of
the Consent Decree and First Amendment, as documented in the Coalition’s July 2020 Notice of
Intent to Initiate Enforcement Proceedings. See Dkt. 855; Dkt. 855-1 at 2-6. In the wake of these
flagrant violations, the Coalition and CPD negotiated specific provisions of CPD’s First
Amendment policy to prevent CPD from engaging in unlawful retaliatory use of force in future
protests. Specifically, the First Amendment policy prohibits CPD officers from “us[ing] force to
punish, retaliate against, deter, or respond to the lawful expression of First Amendment rights.”
G02-02, Sec. IV.B.3.

        The mass arrest policy fails to comply with this prohibition on using force against
protesters and people recording the police. While the parent policy of the mass arrest suite correctly
informs officers that they shall “not use force to punish, retaliate against, deter, or respond to the
lawful expression of First Amendment rights,” S06-06X, Sec. III.K.2., the specific policy on
“alternate tactical response reporting” (S06-06-03XX) sends a different message. It authorizes
officers to “physically respond to a crowd’s actions or inactions in response to verbal directions
and make physical contact with a person or persons in the crowd.” S06-06-03XX, Sec. III.A. It
also enumerates various types force, including deadly force and weapon discharge, that an officer
may “become[] involved in . . . during a coordinated multiple arrest incident.” Id. Sec. V.C.1.-6.
This policy—which states that it supersedes “any other Department directive” to the contrary—
makes no mention of the Constitution’s, Consent Decree’s, and First Amendment policy’s
prohibition on using force in reaction to First Amendment-protected expression. The policy on
“alternate tactical response reporting” must therefore be revised to make clear that any such
physical response is forbidden by law and CPD policy.

                   2.      The Mass Arrest Policy Fails to Adequately Prohibit Officers from
                           Unleashing Canines Against Protesters.

        The prospect of police unleashing dogs on protesters evokes some of the most horrific
chapters of police abuse in our nation’s history and clearly would not comply with the Consent
Decree, including the fundamental mandates of treating all persons with dignity and respecting the
sanctity of human life. See ¶ 50 (requiring that CPD “treat all persons with the courtesy and dignity
which is inherently due every person as a human being[.]”); ¶ 156 (requiring that CPD officers
“act at all times in a manner consistent with the sanctity of human life,” “act at all times with a
high degree of ethics, professionalism, and respect for the public,” and “use de-escalation
techniques to prevent or reduce the need for force whenever safe and feasible”). Unleashing dogs
on peaceful protesters would also almost certainly violate the First and Fourth Amendments. To
ensure CPD’s compliance with the Consent Decree and the Constitution, CPD policy categorically
prohibits officers from using canine teams “in response to crowds, protests, or civil disturbances.”
Canine Teams, Special Order S03-04-01, Sec. IV.A.

       Despite this clear prohibition, the mass arrest policy contains confusing, self-contradictory
language regarding the use of canines during protests, which could lead officers to incorrectly

                                                  10
Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 12 of 14 PageID #:24356




believe that canines are a permitted force option against protesters. Specifically, Section V.C. of
S06-06-03XX lists “canines as a force option” among the types of force that are required to be
reported on a Tactical Response Report during a CMA Incident, even though the policy also notes
that officers are prohibited from using canine teams in response to crowds, protests, or civil
disturbances.

       The mass arrest policy must be revised to remove “canines” from the list of potential “force
option[s],” S06-06-03XX, Sec. V.C., and the policy must state unequivocally that officers cannot
use canines in response to protests.

       C.      The Mass Arrest Policy Fails to Prohibit “Kettling.”

        When CPD has made a determination “to disperse a crowd and give a dispersal order,” the
First Amendment policy requires the field commander to “clearly identify the designated and
available dispersal routes” and provide “attainable” dispersal instructions. G02-02, Sec.
IX.E.1.a.(2)-(3). These provisions, stated as mandatory requirements with no exceptions, were
intended to ban the dangerous police practice known as “kettling,” where officers contain
protesters in a confined area for an extended period of time by surrounding them and not permitting
them to leave, as CPD officers did during the 2020 protests. The First Amendment policy’s ban on
this inherently cruel, degrading, and escalatory practice ensures CPD’s compliance with numerous
Consent Decree requirements. See, e.g., ¶ 156 (requiring that CPD officers “act at all times in a
manner consistent with the sanctity of human life,” “act at all times with a high degree of ethics,
professionalism, and respect for the public,” and “use de-escalation techniques to prevent or reduce
the need for force whenever safe and feasible”).

        Despite the First Amendment policy’s prohibition and the underlying Consent Decree
requirements, the mass arrest policy fails to categorically rule out kettling. It confusingly states
that officers “will avoid containment or corralling tactics known as ‘kettling’ and will provide
specific egress directions for safe crowd dispersal.” S06-06X, Sec. V.B.4.c.REMINDER (emphasis
added). This incorrectly suggests to officers that kettling remains a permissible tactic in certain
situations. The policy should be revised to categorically prohibit kettling and similarly dangerous
crowd containment tactics, consistent with the First Amendment policy and the Consent Decree.

V.     The Mass Arrest Policy Fails to Comply with Legal Requirements for Providing
       Disability and Language Accommodations.

        The Consent Decree requires that CPD make reasonable accommodations for people with
disabilities (¶¶ 68-69) and people who have limited English proficiency (“LEP”) (¶ 64), including
accommodations needed to ensure “effective communication” and “meaningful access” to police
services. These Decree requirements reflect and enforce the federal statutory mandates of Title II
of the Americans with Disabilities Act, 42 U.S.C. § 12132, and Title VI of the Civil Rights Act of
1964, 42 U.S.C. § 2000d.

        The policy fails to comport with these requirements. It merely informs officers that
disabilities and “language barriers” may be a reason why a person “may not recognize or be able
to immediately respond to law enforcement directions.” S06-06X, Sec. V.C.6.; S06-06-03XX, Sec.
VI.A.6. The policy omits that officers must affirmatively provide alternative methods of

                                                11
Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 13 of 14 PageID #:24357




communication if needed to ensure effective communication with individuals with disabilities and
LEP individuals. The policy must be revised to provide specific instructions regarding the alternate
methods of communication that may be needed, and should refer officers to the relevant sections
of the First Amendment policy. See G02-02, Sec. VIII.B.4. (“Multiple methods of communication
may include a device to amplify sound, qualified language interpreters, visual aids (e.g. gestures,
writings, or posted written communications), and digital messaging (e.g., social media, electronic
notification services).”).

VI.    CPD Violated the Consent Decree’s Community Engagement Requirements.

         The Consent Decree mandates that CPD provide members of the public with “a meaningful
opportunity to review and comment on” proposed changes to CPD policies and procedures that
relate to the Decree’s requirements. ¶ 633. The Consent Decree further requires CPD to “consider,”
in response to any public comments, “whether any further revisions to the proposed policy or
procedure are appropriate.” Id. This process must take place “prior to . . . implementation” of the
proposed policy. Id. CPD has failed to comply with these requirements for the mass arrest policy.

        First, the timing of CPD’s training on this policy makes clear that the public never had a
“meaningful opportunity” to provide input on the policy. CPD apparently developed and began
delivering its training course for this policy before the period for public comment even closed. The
public could not possibly have had a “meaningful opportunity” to provide input on the policy when
CPD considers it finalized and ready for training before the comment period has ended.

        Second, the time period CPD allotted for public comment did not enable a “meaningful
opportunity” for public input. CPD originally posted the policy on its website for only 20 days,
later extended to 34 days at the Coalition’s urging. Neither the original nor extended timeframe
allows members of the public—many of whom work full-time jobs and have myriad other
demands on their time—sufficient time to read, digest, and provide substantive comments on a 40-
page set of four policies that introduce a vast array of new policing procedures. Moreover, CPD
provided no advanced notice so that the Coalition, community members, subject-matter experts,
organizations, and other stakeholders could plan in advance for the comment period. Nor did CPD
provide any plain-language summary or guide to assist lay community members in understanding
how and why this policy changes CPD practices.

        For years, the Coalition has raised these recurring community engagement deficiencies
with CPD and suggested corrective measures. See, e.g., Communities United Parties’ Statement
Regarding Comprehensive Assessment of the Consent Decree, Dkt. 1121, at 11; Campbell
Plaintiffs’ Position Statement on Required Modifications to the Consent Decree, Dkt. 1125, at 12.
The Independent Monitor has too. See, e.g., Independent Monitoring Report 7, Dkt. 1097, at 6;
Independent Monitoring Report 8 Appx. 2, at 1-4, https://cpdmonitoringteam.com/wp-
content/uploads/2023/11/IMR8-Appendix-2-Impartial-Policing-2023.11.01.pdf. Rather than
correct its longstanding deficiencies for this policy suite, which is of utmost importance to the
public, CPD doubled down on a sham public comment process that violates Paragraph 633 and
precludes the community from having a real opportunity to shape the policies that will govern
officers’ treatment of untold numbers of community members seeking to exercise their First
Amendment rights.


                                                12
Case: 1:17-cv-06260 Document #: 1156-1 Filed: 03/13/24 Page 14 of 14 PageID #:24358




VII.   Exigent Circumstances Necessitate Emergency Relief.

        The legal deficiencies in the mass arrest policy must be corrected immediately. CPD
officers are being trained on the policy this month, in preparation for the August DNC. Any delay
in remedying the policy’s defects will result in officers being trained on an unlawful policy, likely
resulting in widespread on-the-ground violations as soon as officers begin executing the policy.

        Given the exigent circumstances, the Consent Decree’s ordinary requirement of a 90-day
“cure period” (¶ 695) between this notice and the filing of an enforcement motion is not tenable.
Absent immediate enforcement proceedings, the mass arrest policy may evade the Court’s review
until after it has been applied against—and likely harmed—scores of protesters at the DNC. This
would vitiate the Coalition’s enforcement rights under Paragraph 709(a) and defeat the Court’s
enforcement power under Paragraph 695.

        Moreover, this is not a new issue for CPD and the Coalition. Since the Coalition filed its
July 2020 Notice of Intent to Initiate Enforcement Proceedings (Dkt. 855; Dkt. 855-1), CPD has
been aware that the rights of people engaged in First Amendment activity are of paramount
importance to the Coalition. CPD could have involved the Coalition at an earlier stage of this
policy’s development and worked collaboratively with the Coalition to resolve our concerns and
avoid the need for emergency enforcement proceedings. It chose not to. The exigency here is of
CPD’s own making.

        If CPD is interested in resolving these matters immediately and without Court intervention,
please inform us no later than March 20, 2024. In addition, please provide us with a copy of all
training materials related to the mass arrest policy, and we request an opportunity to attend and
observe the trainings.

                                                      Sincerely,

                                                      Amanda Antholt
                                                      Ruben Bautista
                                                      Sheila Bedi
                                                      Alexandra Block
                                                      Kara Crutcher
                                                      Vanessa del Valle
                                                      Craig Futterman
                                                      Michelle García
                                                      Joshua Levin

                                                      Attorneys for the Coalition
Cc:
       Karyn Bass-Ehler
       Mary Grieb
       Amy Meek
       Anthony-Ray Sepúlveda



                                                 13
